          Case 1:19-cv-00778-CJN Document 21 Filed 08/21/19 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CAUSE OF ACTION INSTITUTE,

               Plaintiff,

                       v.                                Civ. A. No. 19-0778 (CJN)

UNITED STATES DEPARTMENT OF
COMMERCE,

               Defendant.



                            DEFENDANT’S OPPOSITION TO PLAINTIFF’S
                              MOTION FOR ORDER TO SHOW CAUSE

       Defendant respectfully opposes Plaintiff’s Motion for an Order to Show Cause as to Why

Defendant Should not be Held in Contempt and Sanctioned (“Contempt Motion”) for failing to

file its Motion for Summary Judgment on August 12, 2019, at a time when its timely-filed

Motion for Extension of Time was pending and supported by good cause. 1

       Federal Rule of Civil Procedure 6(b) entitles a party to seek an extension of time to

perform a required act. When a request for the extension of a deadline is made by a party

“before the original time or its extension expires,” the Rule permits a court to grant the extension

after the deadline passes. See Fed. R. Civ. P. 6(b)(1)(A) (emphasis added). See also Lujan v.

Nat'l Wildlife Fed'n, 497 U.S. 871, 896 n.5 (1990). Hardly novel, Rule 6(b) is regularly applied

this way in federal district courts across the nation. See, e.g., Thompson v. United States, No. 12-




1
 Notwithstanding this Court’s August 15, 2019, Order granting the extension, Plaintiff has
refused to withdraw the Contempt Motion as moot, among other things, regrettably necessitating
this brief Opposition.
            Case 1:19-cv-00778-CJN Document 21 Filed 08/21/19 Page 2 of 3



01659, 2013 U.S. Dist. LEXIS 120084, at *3 (D. Nev. Aug. 23, 2013); Go v. Rockefeller Univ.,

No. 04-4008, 2013 U.S. Dist. LEXIS 102460, at *12 (S.D.N.Y. July 19, 2013).

       Against this backdrop, Plaintiff startlingly asserts that a party is contemptuous – worthy

of punishment for offending the Court’s dignity and authority – in relying on the unambiguous

language of the Rule and Supreme Court authority construing it. But not a single case supports

this odd premise. Showing appropriate respect for the Court’s deadlines, predecessor counsel

timely requested for good cause a modest extension six days before the expiration of the relevant

deadline.

       In the face of this timely, well-supported request, which the Court has granted, Plaintiff

would rewrite Rule 6(b) to automatically deny any pending motion to extend that has not granted

before the deadline it seeks to expand expires. 2 But that pocket-veto philosophy flies in the face

of the Rule’s plain language, either rendering the Court’s explicit power to grant such motions

nunc pro tunc a nullity or putting the Court on a clock that neither the Rules nor the Supreme Court

has imposed. 3




2
  Plaintiff references counsel’s assumption about the status of a deadline during the pendency of
motion to extend that deadline, but counsel neglects to include the other factors counsel cited:
that the motion to extend was timely filed, narrowly tailored, supported good cause, and not
interposed for the purpose of delay. In a further refinement, counsel explained that the United
States does not assume, as a matter of right, that a motion to extend will be granted when the
Court has yet to act, but instead that “because the Court is entitled to grant the relief without a
finding of excusable neglect after expiration of a deadline when a party seeks an extension before
the expiration of that deadline, [it was] entitled to await the Court’s ruling without being deemed
contumacious. Otherwise, the Court’s own discretion under [Rule] 6(b)(1)(A) would be
nullified.” See August 15, 2019, email from AUSA John Moustakas to Mssrs. Ryan Mulvey and
James Valvo (attached as Ex. 1).
3
  The drafters knew how to constrain the district courts’ discretion to extend deadlines in a
limited number of circumstances where that was deemed desirable, but in no others. See Fed. R.
Civ. P. 6(b)(2).
          Case 1:19-cv-00778-CJN Document 21 Filed 08/21/19 Page 3 of 3



       It has long been recognized that “the judicial contempt power is a potent weapon” that

should not be used lightly. See, e.g., Int’l Longshoremen’s Ass’n v. Phila. Marine Trade Ass’n,

389 U.S. 64, 76 (1976). A party legitimately seeking relief authorized by rule and precedent is

hardly a proper target of such an extraordinary weapon. Because the contempt power belongs to

– and is an essential mechanism for protecting the institutional integrity of – the Court, there is

no better arbiter of its use. Premised upon the need to protect the court’s integrity and guard

against abuses of the judicial process, the Contempt Motion has been rendered moot by the

Court’s order extending the now-satisfied deadline: there is no live controversy a contempt

sanction could redress.

                                          CONCLUSION

       For the reasons set forth above, Defendant respectfully requests that the Court deny

Plaintiff’s Motion for Order to Show Cause.

                                               Respectfully submitted,
                                               JESSIE K. LIU, D.C. Bar 472845
                                               United States Attorney

                                               DANIEL F. VAN HORN, D.C. Bar 924092
                                               Chief, Civil Division

                                               /s/_______________________________
                                               JOHN MOUSTAKAS, D.C. Bar 442076
                                               Assistant United States Attorney
                                               555 Fourth Street, N.W.
                                               Washington, D.C. 20530
                                               (202) 252-2518
                                               John.Moustakas@usdoj.gov
                                               Attorneys for Defendants
